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                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

 UNITED STATES OF AMERICA                      §                              Case 3-18-cr-356-S
                                               §
                                               §
                                               §
 v.                                            §
                                               §
 THOMAS D. SELGAS (1)                          §
 MICHELLE L. SELGAS (2)                        §
 JOHN GREEN (3)                                §


                             FIRST AMENDED EXHIBIT LIST

John Green, through his counsel of record, hereby submits his amended exhibit list.

 Ex. No.    Date      Admitted   Description
            Offered

 1                               ECF 36 – Order Modifying Conditions of Release
                                 (GREEN_008032-08033)
 2                               Order of Dismissal for Lack of Jurisdiction Docket No. 10164-12
                                 (GREEN_008034-008035)
 3                               Respondent’s Motion to Dismiss for Lack of Jurisdiction Docket No.
                                 15077-19 (GREEN_008036-008039)
 4                               Respondent’s Answer Docket No. 15077-19 (GREEN_008040-
                                 008043)
 5                               Fraud Development Recommendation – Examination (DOJ 00258-
                                 DOJ 00260)
 6                               Taxpayer Bill of Rights (GREEN_06396)
  7                              Freedom to Fascism
  8                              Judge Overstreet CV (GREEN_008044-008045)
  9                              Dr. Glass CV (GREEN_008046-008054)
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       Defense reserves right to amend his exhibit list.

       Respectfully submitted on December 20, 2019.

                                             MINNS & ARNETT

                                             /s/ Michael Louis Minns
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                                CERTIFICATE OF SERVICE

       This is to certify that on this the 20th day of December 2019, a true and correct copy of the

above and foregoing instrument was served upon all counsel of record.



                                             /s/ Ashley Blair Arnett
                                             Ashley Blair Arnett
                                             Attorney for Defendant, John Green




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